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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

LAS AMERICAS IMMIGRANT                              :
ADVOCACY CENTER, et al.,                            :
                                                    :
       Plaintiffs,                                  :     Civil Action No.:      24-1702 (RC)
                                                    :
       v.                                           :     Re Document Nos.:      19, 47
                                                    :
U.S. DEPARTMENT OF HOMELAND                         :
SECURITY, et al.,                                   :
                                                    :
       Defendants.                                  :

                                  MEMORANDUM OPINION

DENYING THE STATE OF TEXAS’S MOTION TO INTERVENE; DENYING IN PART AND GRANTING

  IN PART TEXAS’S MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, AMICUS

                               BRIEF IN SUPPORT OF DEFENDANTS

                                      I. INTRODUCTION

       In September 2024, the Department of Homeland Security (“DHS”) and the Department

of Justice (“DOJ”) jointly issued a Final Rule restricting asylum applications at the U.S.-Mexico

border. Two immigrant advocacy groups and twenty-eight individual asylum-seekers sued DHS,

DOJ, and other government entities alleging that the Final Rule, its predecessor Interim Rule,

and its implementing guidance are unlawful. The State of Texas has moved to intervene as

defendant under Federal Rule of Civil Procedure 24. Texas argues that it is entitled to

intervention as a matter of right and, in the alternative, that the Court should allow permissive

intervention. The parties oppose the motion. For the reasons stated below, Texas’s motion is

denied, and its motion for summary judgment or, in the alternative, amicus brief in support of

defendants is denied in part and granted in part.
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                    II. FACTUAL AND PROCEDURAL BACKGROUND

       Over the past several years, immigration levels at the southern border reached an all-time

high. Texas’s Opposed Mot. Intervene as Def. (“Mot. Intervene”) at 2–3, ECF No. 19; J.A. at 3.

Hundreds of thousands of noncitizens have come seeking asylum, a discretionary protection that

the Secretary of Homeland Security “may grant” to noncitizens physically present in the United

States or at the border who qualify as refugees. 8 U.S.C. §§ 1101(a)(42), 1158(b)(1)(A); see also

id. § 1158(a)(2), (b)(2) (laying out additional eligibility criteria). Because of what it

characterizes as the federal government’s “failure to control illegal immigration,” Texas has

invested over $11 billion to “decrease illegal crossings and crack down on human and drug

trafficking” at the border. Mot. Intervene at 8 n.24.

       On June 2, 2024, President Biden issued a “Proclamation on Securing the Border” that

suspended asylum at the U.S.-Mexico border outside designated ports of entry whenever

immigrant “encounters” exceeded a certain level. 1 J.A. 9–13. DHS and DOJ jointly issued an

Interim Final Rule incorporating the proclamation. 89 Fed. Reg. 48710. Among other things,

the rule increased the threshold for noncitizens to qualify for a credible fear interview, the first

step in obtaining asylum and two other types of protection from removal. Id. at 48744–45. It

also required noncitizens seeking asylum to use a smartphone application, CBP One, to schedule

a “time to appear” at a specific port of entry. Id. at 48737. With extremely limited exceptions,




       1
           The proclamation defined “encounters” to mean “a noncitizen who:

       (i)      is physically apprehended by CBP immigration officers within 100 miles of the
                United States southwest land border during the 14-day period immediately after
                entry between ports of entry;
       (ii)     is physically apprehended by DHS personnel at the southern coastal borders
                during the 14-day period after entry between ports of entry; or
       (iii)    is determined to be inadmissible at a southwest border port of entry.” J.A. 13.


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noncitizens arriving outside a port of entry or without an appointment became categorically

ineligible for asylum. Id. at 48730–31; see also Am. Compl. ¶ 2.

       Las Americas Immigrant Advocacy Center (“Las Americas”) and Refugee and Immigrant

Center for Education and Legal Services (“RAICES”), both immigrant advocacy organizations,

filed a complaint in this Court challenging the Interim Final Rule and its accompanying

guidance. Compl., ECF No. 1. Shortly after they filed an amended complaint adding as

plaintiffs eleven individual asylum-seekers. First Am. Compl., ECF No. 14. Named as

defendants were DHS; DOJ; U.S. Citizenship and Immigration Services; U.S. Customs and

Border Protection; U.S. Immigration and Customs Enforcement; the Executive Office for

Immigration Review; Kristi Noem, Secretary of Homeland Security; Kika Scott, Senior Official

Performing the Duties of the Director of U.S. Citizenship and Immigration Services; Pete R.

Flores, Acting Commissioner for U.S. Customs and Border Protection; Caleb Vitello, Acting

Director of Immigration and Customs Enforcement; Pamela Bondi, Attorney General; and Sirce

E. Owen, Acting Director of the Executive Office for Immigration Review (collectively,

“Defendants”). 2 First Am. Compl. ¶¶ 26–37.

       In September 2024, President Biden promulgated an amended proclamation that altered

the June proclamation in two ways. Supp. J.A. at 208–13. First, it increased the length of time

that the encounter-based ban would remain in place. Id. Second, it announced that

unaccompanied children from non-contiguous states would, for the first time, be counted among

the total number of daily encounters. Id. DHS and DOJ then jointly published a Final Rule

incorporating the changes. 89 Fed. Reg. 81156. In response, Las Americas, RAICES, and



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         Initially the complaints named Biden officials as defendants, but pursuant to Federal
Rule of Civil Procedure 25(d) those officials have been substituted by their successors.


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twenty-eight individual asylum-seekers (collectively, “Plaintiffs”) filed a second amended

complaint challenging the Final Rule. Second Am. Compl., ECF No. 56. The parties also filed

cross-motions for summary judgment. Pls.’ Mot. Summ. J., ECF No. 23; Defs.’ Cross-Mot.

Summ. J., ECF No. 45.

       Shortly after the original complaint was filed, the State of Texas moved to intervene as a

defendant. Mot. Intervene. Both parties oppose the motion. Defs.’ Opp’n to Mot. Intervene

(“Defs.’ Opp’n”), ECF No. 34; Pls.’ Opp’n to Texas’s Mot. Intervene (“Pls.’ Opp’n”), ECF No.

35. Texas filed a reply and a motion for summary judgment or, in the alternative, an amicus

brief in support of Defendants. Texas’s Reply in Supp. Mot. Intervene (“Texas’s Reply”), ECF

No. 40; Texas’s Mot. Summ. J. or In the Alternative, Amicus Brief in Supp. of Defs., ECF No.

47. Texas’s motion to intervene is thus ripe for review.

                                   III. LEGAL STANDARDS

       Federal Rule of Civil Procedure 24 establishes two paths to intervention: intervention as a

matter of right and permissive intervention.

                                     A. Intervention of Right

       “The right of intervention conferred by Rule 24 implements the basic jurisprudential

assumption that the interest of justice is best served when all parties with a real stake in a

controversy are afforded an opportunity to be heard.” Hodgson v. United Mine Workers, 473

F.2d 118, 130 (D.C. Cir. 1972). Rule 24(a) provides that:

       [o]n timely motion, the court must permit anyone to intervene who . . . claims an
       interest relating to the property or transaction that is the subject of the action, and
       is so situated that disposing of the action may as a practical matter impair or impede
       the movant’s ability to protect its interest, unless existing parties adequately
       represent that interest.

Fed. R. Civ. P. 24(a)(2).




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       The D.C. Circuit has established that the right to intervene under Rule 24(a) depends on

the applicant’s ability to satisfy four factors: (1) whether the motion to intervene was timely; (2)

whether the applicant claims an interest relating to the property or transaction that is the subject

of the action; (3) whether the applicant is so situated that the disposition of the action may as a

practical matter impair or impede the applicant’s ability to protect that interest; and (4) whether

the applicant’s interest is adequately represented by existing parties. See Fund for Animals, Inc.

v. Norton, 322 F.3d 728, 731 (D.C. Cir. 2003) (citations omitted); see also Jones v. Prince

George’s Cnty., 348 F.3d 1014, 1017 (D.C. Cir. 2003) (listing the four elements of Rule 24(a) as

“timeliness, interest, impairment of interest, and adequacy of representation”). A putative

intervenor must satisfy all four factors. Jones, 348 F.3d at 1018. “Courts are to take all well-

pleaded, nonconclusory allegations in the motion to intervene, the proposed complaint or answer

in intervention, and declarations supporting the motion as true absent sham, frivolity or other

objections.” Wildearth Guardians v. Salazar, 272 F.R.D. 4, 9 (D.D.C. 2010) (quoting Sw. Ctr.

for Biological Diversity v. Berg, 268 F.3d 810, 820 (9th Cir. 2001)).

                                   B. Permissive Intervention

       A court has discretion to allow intervention when an applicant demonstrates “on timely

motion” that it “has a claim or defense that shares with the main action a common question of

law or fact.” Fed. R. Civ. P. 24(b)(1)(B). When exercising discretion to allow permissive

intervention, district courts also “must consider whether the intervention will unduly delay or

prejudice the adjudication of the original parties’ rights.” Id. 24(b)(3). “The D.C. Circuit has

adopted a flexible reading of Rule 24(b)’s ‘claim or defense’ language,’ allowing intervention

even in ‘situations where the existence of any nominate claim or defense is difficult to find.’”

Ctr. for Biological Diversity v. EPA, 274 F.R.D. 305, 312 (D.D.C. 2011) (internal quotation




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marks omitted) (quoting EEOC v. Nat’l Children’s Ctr., Inc., 146 F.3d 1042, 1046 (D.C. Cir.

1998)). “[P]ermissive intervention is an inherently discretionary enterprise.” Nat’l Children’s

Ctr., Inc., 146 F.3d at 1046 (citing Hodgson, 473 F.2d at 125 n.36). “In deciding how to exercise

its discretion, the Court may [] consider such factors as the nature and extent of the applicant’s

interests, the degree to which those interests are adequately represented by other parties, and

whether parties seeking intervention will significantly contribute to . . . the just and equitable

adjudication of the legal question presented.” Aristotle Int’l, Inc. v. NGP Software, Inc., 714 F.

Supp. 2d 1, 18 (D.D.C. 2010) (quotations omitted).

                                           IV. ANALYSIS

          Texas’s stake in this litigation is, in its own words, “straightforward: Texas does not seek

extra relief but merely aims to keep the [Interim Final Rule] intact.” 3 Texas’s Reply at 2–3. In

opposing Texas’s motion to intervene, the parties raise the same two arguments. First, they

argue that Texas has no cognizable legal interest in the litigation and that it lacks standing.

Defs.’ Opp’n at 4–12; Pls.’ Opp’n at 2–6, 3 n.1. Second, they assert that Texas’s interests are

adequately represented by Defendants. Defs.’ Opp’n at 12–13; Pls.’ Opp’n at 6–7. The Court

agrees.

          At the outset, binding D.C. Circuit precedent requires Texas to establish that it has

Article III standing. In Deustche Bank National Trust Company v. FDIC, the Circuit affirmed

that all intervenors, including putative defendant-intervenors, “must demonstrate Article III

standing.” 717 F.3d 189, 193 (D.C. Cir. 2013); see also Crossroads Grassroots Pol’y Strategies

v. FEC (“Crossroads”), 788 F.3d 312, 316 (D.C. Cir. 2015) (same). The Supreme Court has


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          Texas’s motion was filed before the Final Rule issued. The Court assumes that Texas’s
interest in maintaining the Final Rule is the same as its interest in maintaining the Interim Final
Rule, which is materially identical to the Final Rule for purposes of this litigation.


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since held that “an intervenor of right must have Article III standing in order to pursue relief that

is different from that which is sought by a party with standing.” Town of Chester v. Laroe Ests.,

Inc., 581 U.S. 433, 440 (2017); see also Little Sisters of the Poor Saints Peter and Paul Home v.

Pennsylvania (“Little Sisters”), 591 U.S. 657, 674 n.6 (2020) (“An intervenor of right must

independently demonstrate Article III standing if it pursues relief that is broader than or different

from the party invoking a court’s jurisdiction.”). Texas essentially argues that the Supreme

Court has, in Town of Chester and Little Sisters, overturned Deustche Bank. Texas’s Reply at 3–

4.

       But this Court is bound by D.C. Circuit precedent unless intervening Supreme Court

authority “eviscerate[s]” the law of the circuit. Alpine Secs. Corp. v. FINRA, 121 F.4th 1314,

1334 (D.C. Cir. 2024) (quoting Bahlul v. United States, 77 F. 4th 918, 926 (D.C. Cir. 2023)).

Town of Chester and Little Sisters show that a putative plaintiff-intervenor must affirmatively

demonstrate standing when seeking relief different than that sought by “the party invoking a

court’s jurisdiction.” Little Sisters, 591 U.S. at 674 n.6; see also Town of Chester, 581 U.S. at

435. Neither case addressed whether a putative defendant-intervenor must possess standing.

The D.C. Circuit has already concluded that Town of Chester “does not cast doubt upon, let

alone eviscerate, our settled precedent that all intervenors must demonstrate Article III standing.”

Old Dominion Elec. Coop. v. FERC, 892 F.3d 1223, 1232 n.2 (D.C. Cir. 2018). Nor does Little

Sisters, which addressed intervenor standing only in a footnote. See Little Sisters, 591 U.S. at

674 n.6. This Court must therefore follow the D.C. Circuit’s holding that “when a party tries to

intervene as another defendant,” it is “required to demonstrate Article III standing.” 4



       4
          Texas points out that other circuits have come out the other way, see Texas’s Reply at 6
n.2, but those cases are immaterial in the face of binding D.C. Circuit precedent.


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Crossroads, 788 F.3d at 316. Otherwise, as the Circuit has explained, “‘any organization or

individual with only a philosophic identification with a defendant—or a concern with a possible

unfavorable precedent—could attempt to intervene and influence the course of litigation.’” Id.

(quoting Deutsche Bank Nat’l Trust Co., 717 F.3d at 195 (Silberman, J., concurring)); see also

Red Lake Band of Chippewa Indians v. U.S. Army Corps of Eng’rs, 338 F.R.D. 1, 4 (D.D.C.

2021) (concluding that the court was required to evaluate putative defendant-intervenor’s

standing under Deutsche Bank despite Town of Chester and Little Sisters).

       So Texas must show an injury-in-fact to a legally protected interest, causation, and

redressability. 5 Crossroads, 788 F.3d at 316. When standing is premised on a potential future

injury, the party asserting standing “must demonstrate a realistic danger of sustaining a direct

injury.” United Transp. Union v. ICC, 891 F.2d 908, 913 (D.C. Cir. 1989) (internal quotation

omitted). The leading case on state standing in the immigration context is United States v.

Texas, 599 U.S. 670 (2023), where two States (including Texas) sought to challenge DHS

immigration enforcement guidelines that prioritized the arrest and removal of suspected terrorists

and dangerous criminals. The thrust of the States’ argument was that DHS was statutorily

obligated to arrest more noncitizens than it would under the guidelines. Texas, 599 U.S. at 673–

74. For standing, the States claimed that the guidelines imposed costs on them by obligating




       5
          Texas did not attempt to establish standing in its motion to intervene. See generally
Mot. Intervene. Defendants claim that this means Texas forfeited any argument that it has
standing. Defs.’ Opp’n at 5–6. But a party may “in a reply brief, respond to arguments raised
for the first time in [the opposing party’s] brief.” United States v. Powers, 885 F.3d 728, 732
(D.C. Cir. 2018) (internal quotation omitted). Texas therefore did not forfeit its standing
arguments by raising them for the first time in reply. See id. Because the D.C. Circuit has
characterized Rule 24(a)’s interest factor and Article III’s standing requirements as “similar,” see
Deutsche Bank, 717 F.3d at 191, the Court construes Texas’s arguments about its interest in the
litigation as essentially arguments on standing.


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them to “incarcerate or supply social services such as healthcare and education to noncitizens

who should be (but [were not]) arrested.” Id. at 674.

       The Supreme Court held that the States lacked standing because, for one thing, “federal

courts are generally not the proper forum for resolving claims that the Executive Branch should

make more arrests or bring more prosecutions.” Id. at 680. But the Court also cautioned that “in

our system of dual federal and state sovereignty, federal policies frequently generate indirect

effects on state revenues or state spending.” Id. at 680 n.3. The Court rejected the States’

position that “those kinds of indirect effects” “overcome[] the fundamental Article III problem[s]

with this lawsuit.” Id.

       Texas’s proffered injuries here are of that indirect character. Texas claims that “[a]s the

border towns become overrun, it impacts all levels of Texas’ infrastructure, including housing,

education, health care, criminal justice system costs, welfare expenditures, and more.” Mot.

Intervene at 12–13. Texas also insists that it “has financial interests at stake based on the

outcome of this litigation . . ., including (1) having to provide certain benefits to those unlawfully

present and (2) encountering administrative burdens to comply with federal law by ensuring it is

not providing state and local public benefits to ineligible migrants.” Id. at 13; see also Texas’s

Reply at 5 (describing Texas’s “substantial economic interests in ensuring the [Rule] stays in

effect to mitigate the flow of unlawful crossings over its southern border”).

       Texas’s theory of injury is too attenuated to support Article III standing, which requires

an injury that is “actual or imminent, not conjectural or hypothetical.” See Lujan v. Defs. of

Wildlife, 504 U.S. 555, 560 (1992) (internal quotation omitted); see also Texas v. Mayorkas, 743

F. Supp. 3d. 900, 909–10 (W.D. Texas 2024) (holding that Texas had no injury-in-fact “based on

indirect, downstream monetary costs” in another instance where Texas challenged federal




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immigration policy); Arpaio v. Obama, 27 F. Supp. 3d 185, 202 (D.D.C. 2014), aff’d, 797 F.3d

11 (D.C. Cir. 2015) (holding that “a state official has not suffered an injury in fact because a

federal government program is anticipated to produce an increase in that state’s population and a

concomitant increase in the need for the state’s resources”). For the same reason, the Court finds

that Texas has not asserted a legal interest sufficient to satisfy the interest element of Rule 24(a).

Cf. Deutsche Bank Nat’l Trust Co., 717 F.3d at 191 (D.C. Cir. 2013) (characterizing Article III

standing and Rule 24(a)’s interest element as “similar”).

       Nor is the Court convinced that Defendants will inadequately represent Texas’s interest

in keeping the challenged Rule intact. True, Texas and the federal government do not

consistently align on immigration policy. See Mot. Intervene at 16 (describing discord). But

Texas has not shown that Defendants have failed or will fail to vigorously defend the Final Rule.

See Defs.’ Opp’n at 12–13; Pls.’ Opp’n at 6–7. That Texas might make different arguments than

Defendants is immaterial, contra Mot. Intervene at 21, because the relevant inquiry under Rule

24 is whether Texas’s interest is adequately represented, not whether its preferred arguments are

articulated. And while it is true that the D.C. Circuit “look[s] skeptically on government entities

serving as adequate advocates for private parties,” Texas is not a private party—it is one of fifty

States that could claim some interest in enforcing or challenging federal immigration policies.

See Crossroads, 788 F.3d at 321.

       The Court also declines to exercise its discretion to allow Texas to intervene permissibly.

See Cameron v. EMW Women’s Surgical Ctr., P.S.C., 595 U.S. 267, 278–79 (2022) (“Resolution

of a motion for permissive intervention is committed to the discretion of the court before which

intervention is sought.”). The floodgates concern raised by the Supreme Court in Texas cautions

against granting permissive intervention to States in cases like this. Texas, 599 U.S. at 680 n.3




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(describing how federal policies “frequently generate indirect effects on state revenues or state

spending”); see also Arpaio, 27 F. Supp. 3d at 202 (expressing concern about adopting a holding

that would allow “nearly all state officials to challenge a host of Federal laws simply because

they disagree with how many—or how few—Federal resources are brought to bear on local

interests”); Cooper v. Newsom, 13 F.4th 857, 868–69 (9th Cir. 2021) (holding that a district court

did not abuse its discretion in denying permissive intervention to three District Attorneys when it

found that “some or all of the fifty-five other District Attorneys in California might seek to

intervene if intervention were granted to the[se] three”). The downstream effects of federal

immigration policy may be concentrated in border states like Texas, but ultimately all fifty states

could claim to suffer the kind of collateral injuries Texas articulates here. And, as discussed

above, Texas has not shown that Defendants will fail to adequately defend the Rule.

       The Court will, however, grant Texas leave to file a brief as amicus curiae. See Loc.

Civil Rule 7(o); Texas’s Mot. Summ. J. or In the Alternative, Amicus Brief in Supp. of Defs.

The Court believes that Texas “‘has unique information or perspective that can help the court

beyond the help that the lawyers for the parties are able to provide.’” See Jin v. Ministry of State

Sec., 557 F. Supp. 2d 131, 137 (D.D.C. 2008) (quoting Ryan v. CFTC, 125 F.3d 1062, 1063 (7th

Cir. 1997)). Texas’s proposed motion for summary judgment will therefore be docketed as an

amicus brief. See Texas’s Mot. Summ. J. or In the Alternative, Amicus Brief in Supp. of Defs. at

1 n.1; see also Friends of Earth v. Haaland, 2022 WL 136763 (D.D.C. Jan. 15, 2022) (denying

motion to intervene but granting leave to file proposed motion for summary judgment as an

amicus brief).




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                                      V. CONCLUSION

       For the foregoing reasons, Texas’s motion to intervene is denied. Texas’s motion for

summary judgment or in the alternative, amicus brief in support of defendants, is denied in part

and granted in part. An order consistent with this Memorandum Opinion is separately and

contemporaneously issued.


Dated: February 26, 2025                                         RUDOLPH CONTRERAS
                                                                 United States District Judge




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